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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 UNITED STATES OF AMERICA                                                         PLAINTIFF

 V.                              CASE NO. 5:17-CR-50010-001

 JONATHAN E. WOODS                                                              DEFENDANT

                         MEMORANDUM OPINION AND ORDER

        Defendant Jonathan Woods was convicted in this Court on May 3, 2018, for his

 role in two public corruption schemes. Currently before the Court are Mr. Woods’ Motion

 for Relief Pursuant to Federal Rule of Criminal Procedure 33 for Brady Violations (Doc.

 552) and Brief in Support (Doc. 553), and the Government’s Response in Opposition

 (Doc. 559). Mr. Woods asks the Court to vacate his conviction, or, in the alternative, grant

 him a new sentencing hearing. For the reasons stated below, the Motion is DENIED.

        Mr. Woods has requested the Court hold an evidentiary hearing on this Motion.

 The Court retains broad discretion to decide if a post-conviction hearing is needed to

 consider new evidence. United States v. LaFuente, 991 F.2d 1406, 1409 (8th Cir. 1993).

 A district court “is required to hold a hearing only in ‘exceptional circumstances,’ and . . .

 the need for an evidentiary hearing is lessened where . . . the motion is decided by the

 district judge who presided at trial.” United States v. Glinn, 965 F.3d 940, 942 (8th Cir.

 2020) (quoting United States v. Baker, 49 F.3d 574, 579 (8th Cir. 2007)). Given the type

 of evidence at issue, the substantial briefing by the parties, and the Court’s deep

 familiarity with this case, the Court does not find a hearing necessary to decide this

 Motion. Therefore, Mr. Woods’ request for a hearing is DENIED.




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                                       I. BACKGROUND

        Jonathan Woods was charged in the Second Superseding Indictment (Doc. 74)

 with seventeen felony counts related to public corruption schemes. The allegations and

 subsequent trial concerned two separate schemes that occurred while Woods was a

 senator in the Arkansas General Assembly. At trial, the Government put on proof that, in

 both schemes, Woods took official actions to direct money from the Arkansas General

 Improvement Fund (“GIF”) to private entities—in exchange for cash payments to him, and

 also in exchange for the hiring of his friends or loved ones by the entities (or their affiliates)

 that received the GIF money.

        One scheme involved directing GIF funds to an entity called AmeriWorks. The

 second involved directing GIF funds to an Arkansas bible college called Ecclesia College

 (“Ecclesia”). As relevant to the instant Motion, participants in the AmeriWorks scheme

 included another member of the Arkansas General Assembly, Micah Neal, and a lobbyist,

 Milton “Rusty” Cranford, who was also the CEO of the Arkansas division of Alternative

 Opportunities (“AO”), an affiliate of AmeriWorks. At trial, the Government introduced

 evidence showing that AO hired Woods’ then-fiancée and subsequently-wife, Christina

 Mitchell, in exchange for Woods directing GIF funds to AO.

        Jeremy Hutchinson, a former Arkansas state senator who purportedly served as

 counsel to Cranford and AO, was also involved. Hutchinson was a confidential source for

 the FBI from 2014 to 2016. Subsequent to the Woods trial, both Cranford and Hutchinson

 pleaded guilty to related bribery charges.

        The Woods case was mired in a litany of discovery disputes and accusations of

 government misconduct leading up to trial. One such dispute involved covert recordings



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 taken by Micah Neal—on his own accord—that included recordings of Neal’s

 conversations with Woods. Neal eventually provided these recordings to the Government,

 but a dispute then arose as to when Neal turned them over and whether all such

 recordings had been disclosed to the defense. The Court scheduled a hearing to get to

 the bottom of this dispute.     To locate proof of its position as to the timing and

 completeness of its disclosures about the recordings, the Government’s attorney

 instructed one of the case agents, FBI Agent Robert Cessario (“SA Cessario”), to provide

 his FBI-issued laptop to the FBI computer lab in Little Rock for forensic examination. But

 for reasons that remain unknown, Agent Cessario intentionally wiped the laptop’s hard

 drive before turning it over. Nevertheless, while the contents of the laptop were of no

 help, the Court was able to determine after a lengthy hearing that all of Neal’s recordings

 had been timely disclosed. The Court sanctioned Cessario’s misconduct by disallowing

 the Government from introducing any testimony from Cessario or Neal’s recordings at

 trial. (Doc. 297, p. 45). Woods has maintained ever since that Cessario’s laptop must

 have contained exculpatory evidence. The Court has consistently explained in response

 why that was highly unlikely and purely speculative. See id., pp. 36–44.

       On May 3, 2018, a jury convicted Woods on fifteen of the felony counts against

 him. Following his conviction, Woods moved for and was denied a judgment of acquittal

 under Federal Rule of Criminal Procedure 29 or a new trial under Rule 33. (Doc. 422).

 On appeal, the Eighth Circuit affirmed Woods’ conviction. United States v. Woods, 978

 F.3d 554 (8th Cir. 2020).

       Now, Woods again asks this Court to grant him a new trial, alleging that, prior to

 and during trial, the Government was in possession of favorable evidence that it failed to



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 disclose to Woods, in violation of Brady v. Maryland, 373 U.S. 83 (1963). Woods alleges

 that, among other unspecified evidence, the Government was in possession of a letter,

 dated October 20, 2017, from Hutchinson’s counsel to government prosecutors (“the

 Hutchinson Letter”). 1 The letter contains allegations that FBI Special Agent Michael Lowe
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 (“SA Lowe”) coerced Hutchinson into violating the attorney-client privilege that existed

 between Hutchinson and Cranford.

       Prior to trial, and at the Government’s request, a summary of the Hutchinson letter

 was provided to the Court for an in camera, ex parte ruling on whether it was discoverable

 under Rule 16. On November 29, 2017, the Court determined that it was “not presently

 aware of any reason why the materials . . . should be disclosed to the Defendants in this

 case.” (Doc. 213).        On February 27, 2019, Mr. Woods was given access to the

 Government’s ex parte submission describing the letter (Doc. 207) and the Court’s Order

 (Doc. 213) for purposes of appeal.

       The instant Motion is premised on three pieces of allegedly undisclosed, favorable

 evidence, contained in the Hutchinson Letter and other unidentified sources: (1) the

 involvement of Hutchinson in AO’s hiring of Christina Mitchell, (2) information related to

 SA Lowe’s alleged interference with attorney-client privilege, and (3) information that SA

 Lowe was involved with the investigation that eventually led to the indictment of Woods.

       Based on these alleged Brady violations, Woods asks this Court to “grant a hearing

 on this motion, vacate the convictions, and dismiss the charges.” (Doc. 552, p. 3). In the




 1 Woods sought and was granted leave to file the Hutchinson Letter as a sealed exhibit
 in support of the instant Motion. (Docs. 554, 556). The letter was provided to the Court
 via email, but Woods never actually filed it on the docket.
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 alternative, he seeks a new sentencing hearing. The Government opposes the Motion

 and all relief requested.

                                  II. LEGAL STANDARD

        Federal Rule of Criminal Procedure 33(a) states that “[u]pon the defendant’s

 motion, the court may vacate any judgment and grant a new trial if the interest of justice

 so requires.” Under Rule 33, “the court has broad discretion in deciding motions for new

 trial, and its decision is subject to reversal only for a clear and manifest abuse of

 discretion.” United States v. Hassan, 844 F.3d 723, 725 (8th Cir. 2016).

        Under Brady, a defendant’s due process rights are violated when the prosecution

 withholds favorable evidence that “is material either to guilt or to punishment.” 373 U.S.

 at 87. “To establish a Brady violation, a defendant is required to show that: (1) the

 prosecution suppressed evidence; (2) the evidence was favorable to the defendant; and

 (3) the evidence was material.” United States v. Keltner, 147 F.3d 662, 673 (8th Cir. 1998)

 (citing United States v. Van Brocklin, 115 F.3d 587, 594 (8th Cir. 1997)). “Evidence is not

 material simply because it would have helped a defendant prepare for trial. Rather,

 evidence is material only if there is a reasonable probability that, had the evidence been

 disclosed to the defense, the result of the proceeding would have been different.” United

 States v. Spencer, 753 F.3d 746, 748 (8th Cir. 2014) (cleaned up).

                                     III. DISCUSSION

        For the reasons stated below, the Courts finds the Government did not violate

 Brady with respect to the information that is the subject of this Motion. As a result, there

 is no basis to grant Woods any relief under Rule 33 and no basis to grant Woods a new

 sentencing hearing.



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                  A. Information Related to the Hiring of Christina Mitchell

          Woods first argues that the Government suppressed “statements by Jeremy

 Hutchinson to Agent Lowe that Christina Mitchell was vetted by Hutchinson, while counsel

 for Alternative Opportunities, Inc., for employment by Rusty Cranford prior to her hiring.”

 (Doc. 553, p. 6). This piece of information is not contained in the Hutchinson Letter, and

 Woods does not specify how or when he discovered the Government was in possession

 of it. However, the Government concedes it was, in fact, in possession of SA Lowe’s

 interview notes and internal report that described Hutchinson’s involvement in Mitchell’s

 hiring and that these notes were not turned over to Woods. Therefore, there is no dispute

 that this information existed prior to trial and was not disclosed.

          According to the Government, SA Lowe’s notes include the following summary

 from an interview with Hutchinson: “After giving Dayspring $—Woods told Rusty he

 wanted them to hire his wife. R asked J—Is she qualified, (yes) Is there a position?—

 yes—fund by GIF. -Then yes you can hire her.” (Doc. 559, p. 11). 2 The Government also
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 concedes SA Lowe’s notes reflect that “it was Hutchinson’s opinion that AO could hire

 Mitchell.” Id.

          Woods argues this information is favorable to him because it suggests AO’s hiring

 of Mitchell was completely appropriate, rather than part of a quid pro quo between Woods

 and Cranford. Woods further argues the information would have favored him at

 sentencing, where the GIF funds distributed to AO in exchange for Mitchell’s hiring were

 used to calculate Woods’ offense level. The Government argues the information in SA

 Lowe’s notes was inculpatory, rather than exculpatory, in part because Hutchinson



 2   “Dayspring” refers to AO. Dayspring and AO merged in 2007. (Doc. 531, pp. 3220).
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 admitted in his plea agreement that Cranford and AO were compensating him for legal

 services in exchange for taking official action on their behalf as a state senator. See

 United States v. Hutchinson, Case No. 6:19-CR-03048, at Doc. 58 (W.D. Mo.).

        In the Court’s view, the information contained in SA Lowe’s notes and internal

 report regarding Hutchinson’s opinion on hiring Christina Mitchell is not favorable to

 Woods. SA Lowe’s notes suggest—consistent with what the Government argued to the

 jury—that a direct link existed between the GIF funds being transferred to AO and Woods

 asking Cranford to hire his wife. Woods fails to explain how the fact that Hutchinson

 weighed in on Mitchell’s hiring dispels the inference of a quid pro quo. Woods makes the

 conclusory argument that the information shows the hiring was “properly vetted by

 someone without interest.” (Doc. 553, p. 10). SA Lowe’s notes do not suggest any “proper

 vetting” occurred. The notes instead suggest Hutchinson approved the hiring in the

 context of Cranford explaining to Hutchinson how he was bribing Woods in exchange for

 official actions. Woods also fails to understand that Hutchinson was not a disinterested

 party, because he too was conspiring with Cranford to accept bribes in exchange for

 official action. Had these facts been adduced at trial or at sentencing, they would not

 have favored Woods.

        Even assuming this information is favorable to Woods, it is not material under

 Brady. Woods argues this information is material to both the Government’s case—

 because it undercuts any inference of a quid pro pro—and to Woods’ sentencing—

 because had Woods been able to undercut this inference, the one million dollars in GIF

 funds would not have been included in his guidelines calculation. But, had Woods been

 able to show SA Lowe’s notes to the jury, or have Hutchinson himself testify, it is unlikely



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 this evidence would have led to a different outcome. In fact, the information would have

 substantiated the Government’s version of events.

        Woods points out that the Government relied on the testimony of Tammy Pierce,

 AO’s human resource manager, who “provided the speculative basis for the government

 to argue to the jury that there was a quid pro quo between Woods and Cranford.” (Doc.

 553, p. 7). Pierce testified that Mitchell was hired by AO, paid $70,000 per year, worked

 at AO for two months, and that Mitchell’s replacement was paid $35,000 per year. (Doc.

 531, pp. 3226–33; Doc. 532, pp. 3362–69). But, contrary to Woods’ suggestion, see Doc.

 553 at p. 7, this was not the extent of the Government’s evidence on this issue. The

 Government introduced emails showing AO’s decision to hire Mitchell occurred

 contemporaneously—and at times in the same email chains—with requesting additional

 GIF funds from Woods. (Doc. 559, pp. 3–4). For example, one email, sent by Cranford to

 other AO employees, had the subject line “1 million dollars” and explained AO had been

 approved for those GIF funds. Responding to that email, AO’s Chief Operating Officer

 Bontiea Goss wrote that there “is a woman in Northwest Arkansas that Rusty would like

 to hire to direct the project,” referring to Mitchell. (Doc. 532, pp. 3383–84).

        Hutchinson’s purported vetting of Mitchell does not refute the Government’s

 substantial evidence that Mitchell was hired in exchange for Woods directing GIF funds

 to AO. An applicant might be fully vetted and eminently qualified, yet still be hired as part

 of a quid pro quo. To be sure, a successful applicant’s lack of qualifications could give

 rise to an inference of impropriety. But the Government did not argue Mitchell was

 unqualified. In fact, Pierce testified on cross-examination that Mitchell was not only

 qualified for the position but the most qualified of all the applicants. (Doc. 532, pp. 3278–



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 92). Therefore, any further evidence of Mitchell’s qualifications is not material under

 Brady.

          With Mitchell’s qualifications undisputed, that leaves only Woods’ contention that

 Hutchinson’s opinion would have shown the legal validity of Mitchell’s hiring. However,

 whether Cranford was under the impression that the arrangement was appropriate is

 ultimately irrelevant to whether Woods received bribes in exchange for official actions.

 Hutchinson was providing legal advice to Cranford as part of a bribery scheme, and his

 advice was provided only to Cranford. But it was Woods, not Cranford, who was on trial

 in this case. Hutchinson said nothing to Woods about the arrangement, the person whose

 conduct was in question.

          As for sentencing, the Court finds that, had the information in question been

 considered by the Court, there would have been no effect on Woods’ guideline

 calculation. The Court found the one-million-dollar grant to AO was properly considered

 in the loss amount, which totaled $2,021,500. This placed the loss amount in the range

 of more than $1,500,000 but less than $3,500,000, giving Woods a 16-level

 enhancement.

          At sentencing, the Court found, “based on a preponderance of the evidence

 introduced today, and as supplemented by other evidence introduced at trial, that the

 government has met its burden to show that this $1 million grant was part of a related

 bribery scheme involving Woods, Cranford, and AO.” (Doc. 540, p. 105). This finding did

 include consideration of the evidence showing Mitchell was hired by AO in exchange for

 GIF funds. However, even assuming Hutchinson’s approval of Mitchell’s hiring refutes the

 Government’s evidence on that claim—which it does not—there was more than sufficient



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 remaining evidence for the Government to meet its burden to show the one-million-dollar

 GIF grant was part of the bribery scheme. The Court had before it Cranford’s admission

 in his plea agreement that he and other AO executives bribed Woods in order to obtain

 the one-million-dollar grant. See id. at 28. The Court also had before it the testimony of

 Tammy Pierce at trial and the many emails showing that Mitchell’s hiring was connected

 to the one-million-dollar grant.

        For these reasons, the Court finds there was no Brady violation with respect to the

 Government’s nondisclosure of information related to Hutchinson’s involvement in the

 hiring of Christina Mitchell, and there is no cause to either vacate Woods’ conviction or

 grant a new sentencing hearing on this basis.

    B. Information Related to Alleged Interference with Attorney-Client Privilege

        Woods next argues that the Government suppressed favorable and material

 allegations of misconduct contained in the Hutchinson Letter. Namely, that “Agent Lowe

 pressured and directed Hutchinson to reveal attorney-client relationship information on

 multiple individuals, particularly Rusty Cranford.” (Doc. 553, p. 11). It is undisputed that

 the Government did not turn over the Hutchinson Letter to Woods.

        Woods argues this information is favorable and material because it supports his

 allegation of governmental intrusion into the attorney-client relationship and claim of

 outrageous governmental action. Woods argues that “[b]oth of these issues would have

 been materially advanced by the information that Agent Lowe had intentionally coerced

 an invasion into the attorney-client privilege of Hutchinson and Cranford.” Id. at p. 12.

 Assuming that is true in a general sense, the argument nevertheless fails because the

 allegations in the Hutchinson Letter do not relate to Woods’ specific claim—that the



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 Government instructed a cooperating co-conspirator, Micah Neal, to “probe Woods about

 Woods’ legal strategy and conversations between Woods and his counsel.” Id. at p. 12.

        Woods attempts to use mere allegations of government intrusion into the attorney-

 client relationship of a third party, Hutchinson, as substantive evidence that the

 government also intruded into his own attorney-client relationship. Woods argues the

 “tactics” used by the FBI were same in both his and Hutchinson’s cases. Id. at p. 14. But

 allegations of similar tactics in a related case do not make Woods’ own allegations

 sufficiently more probable that a different result would have been achieved. The

 Hutchinson Letter does not add factual relevance or legal consequence to Woods’ own

 allegations and, therefore, would not have led to dismissal of Woods’ charges or an

 acquittal. Nor does the existence of the Hutchinson Letter change the Court’s conclusion

 that “under controlling legal precedent, it would not have been a Sixth Amendement

 violation for the Government to do exactly what Mr. Woods accuses it of doing.” (Docs.

 72, p. 3, and 128, p. 1). In a related appeal taken by co-defendant Oren Paris on the

 same issue, the Eighth Circuit concluded there was “no evidence that government officials

 directed Neal to gather information on Paris. Without this type of evidence, Neal’s actions

 could not have violated Paris’s constitutional rights.” United States v. Paris, 954 F.3d

 1069, 1073 (8th Cir. 2020) (citing Stewart v. Wagner, 836 F.3d 978, 986 (8th Cir. 2016)).

 The Hutchinson Letter does not lead to a different conclusion here because it is not

 material evidence that Neal was making recordings of Woods at the Government’s

 direction.

        Moreover, Woods was given access to the Government’s summary of the

 Hutchinson Letter (Doc. 207) and the Court’s ex parte Order (Doc. 213) by order of the



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 Eighth Circuit on February 27, 2019. Woods filed his appeal brief three months later on

 June 3, 2019, but he did not assert any error associated with the ex parte Order, nor did

 he raise any issue about intrusion into the attorney-client privilege or outrageous

 governmental conduct—despite then knowing the contents of the previously sealed

 filings. Only now, after his conviction was affirmed, does Woods argue the Hutchinson

 Letter is so consequential.

       The Court considered the information in the Hutchinson Letter prior to Woods’ trial

 and found there was no known reason the information would need to be disclosed by the

 Government. See Doc. 213. After consideration of the evidence brought at trial and

 Woods’ “new” evidence and arguments in the instant Motion, the Court finds that its prior

 rulings on this issue would remain the same.

       For these reasons, the Court finds there was no Brady violation with respect to the

 Government’s nondisclosure of the portion of the Hutchinson Letter that claims SA Lowe

 directed Hutchinson to violate the attorney-client privilege between Hutchinson and

 Cranford.

    C. Information Related to SA Lowe’s Involvement in the Woods Investigation

       Finally, Woods argues the suppressed Hutchinson Letter would have revealed that

 SA Lowe was involved in the investigation that ultimately led to the indictment of Woods.

 The Government contends this information was not suppressed. That is, Woods was

 aware—prior to trial—that SA Lowe had been involved in the investigation.

       The Court finds that the Government did not suppress SA Lowe’s involvement in

 the investigation that led to the indictment of Woods. The Government points to two

 pieces of information provided in discovery that revealed SA Lowe’s involvement. The



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 first is a letter from the Government to Woods on November 16, 2017, that included two

 statements by Hutchinson to SA Lowe “regarding Woods directing GIF to Ecclesia in

 exchange for a kickback.” (Doc. 559, p. 18). The second is an FBI 302 report, produced

 to Woods on April 23, 2018, that indicated SA Lowe was present for Cranford’s proffer

 interview. Id. This second discovery item was admittedly provided after Woods’ trial had

 begun and after the Court heard and resolved the issues related to SA Cessario’s

 conduct. But the first discovery item disclosing SA Lowe’s involvement pre-dates these

 events. In short, the Government did not conceal the fact that SA Lowe was involved in

 the investigation that ultimately led to the indictment of Woods.

        The Court further finds that, even if it had been suppressed, SA Lowe’s

 involvement in the investigation is neither favorable nor material to Woods’ position.

 Woods argues the information is favorable and material because SA Cessario placed a

 phone call to SA Lowe near in time to Cessario wiping the hard drive of his government-

 issued laptop. This latter event was the subject of a motion to dismiss the indictment by

 Woods on February 20, 2018. See Doc. 293. Woods claims that, had he known SA Lowe

 was involved with the investigation, the phone call between the two agents would have

 triggered Woods to pursue a line of inquiry that would have “support[ed] Woods’ claim all

 along that the hard drive possessed information about the corrupt investigation into the

 GIF funds generally, and Woods specifically.” (Doc. 553, p. 20). Woods requests he now

 be allowed additional discovery on this matter to learn the purpose of that phone call.

        In denying the prior motion on this topic, the Court explained at length that although

 SA Cessario engaged in blatant misconduct, it was pure speculation that the wiped laptop

 contained exculpatory evidence, and Woods suffered no prejudice from that incident. See



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 Doc. 297, pp. 36–44. The Court need not rehash all those findings here. Suffice it to say,

 the “revelation” that SA Lowe was involved in this case does nothing to change the Court’s

 prior ruling on this matter. Even conceding this information is favorable to Woods, it would

 not have led to a different result. Cessario placing a phone call to another agent working

 on a related investigation does not make Woods’ claims about Cessario’s laptop more

 probable. Moreover, the Court already found that Woods’ due process rights were

 violated by Cessario destroying potentially useful information. As a sanction, the Court

 excluded Neal’s recordings and Cessario’s testimony from the Government’s case-in-

 chief. Id. at 45. What the Court did not do, and what Woods had requested, was dismiss

 the indictment, a remedy disproportionate to the harm suffered. The fact of SA Lowe’s

 involvement in the investigation does not make dismissal any more proportionate, and

 thus the information is not material under Brady.

        The Court also does not find the information in the Hutchinson Letter warrants

 further discovery on a topic already subject to extensive investigation, evidentiary

 hearings, and briefing. Woods was aware of the phone call between SA Lowe and SA

 Cessario and had the opportunity to question Cessario on that topic. As the Court found

 at the time, “we will probably never know” what information on the laptop drove Cessario

 to risk his career by wiping it. Id. at 39. The Hutchinson Letter gets us no closer to that

 answer.

        SA Lowe’s involvement in the investigation that led to the indictment of Woods was

 not concealed by the Government, and—if it had been—would not have led to a dismissal

 of the indictment or an acquittal. For these reasons, the Court finds there was no Brady

 violation with respect to this information.



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                                     IV. CONCLUSION

        In summary, Woods has not identified any suppressed information that would have

 led to a different result in these proceedings and has not identified any sufficient basis on

 which to grant him a new trial—or any of his requested relief—under Rule 33. The

 Government did not suppress Brady information. The case against Woods was primarily

 based on voluminous documentary evidence. Woods has not identified any new

 countervailing documentary evidence, nor any other evidence, that would have led to his

 acquittal or would otherwise be a basis for a new trial. As the Government points out, had

 Woods called Hutchinson or Cranford to testify, they very likely would have invoked their

 Fifth Amendment right against self-incrimination. If they did not, their testimony would

 likely have been favorable to the Government’s case. To the extent it would have favored

 Woods, Woods has not articulated how their testimony would have rebutted the

 Government’s substantial documentary evidence.

        IT IS THEREFORE ORDERED that Defendant Jonathan Woods’ Motion for Relief

 Pursuant to Federal Rule of Criminal Procedure 33 for Brady Violations (Doc. 552) is

 DENIED.

        IT IS SO ORDERED on this 20th day of October, 2021.



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